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 1   ROGER K. LITMAN, 57634
     Attorney at Law
 2   Civic Center Square
     2300 Tulare Street, Suite 230
 3   Fresno, California 93721
     Telephone: (559) 237-6000
 4
     Attorney for Defendant, BOUAVONE KEOMOUNEPANE
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 6
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                          EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,   )              CASE NO. 1:07-cr-00268-OWW
                                 )
11        Plaintiff,             )
                                 )              STIPULATION AND
12      v.                       )              ORDER TO
                                 )              CONTINUE SENTENCING
13   BOUAVONE KEOMOUNEPANE,      )
                                 )
14         Defendant.            )
     ____________________________)
15
16        The parties hereto, by and through their respective attorneys, stipulate and
17   agree that the sentencing currently calendared for August 23, 2010, be continued
18   to September 13, 2010 at 9:00 a.m.
19        This continuance is agreed to as the parties require additional time to
20   complete the U.S.S.G. § 5C1.2(a)(5) process. The parties have been unable to
21   complete Ms. Keomounepane’s safety valve interview.
22        The parties also agree that any delay resulting from this continuance shall
23   be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
24   3161(h)(8)(A) and 3161(h)(8)(B)(I).
25
     DATED: August 17, 2010             /s/ Laurel Montoya       __      __
26                                      LAUREL MONTOYA
                                        Assistant United States Attorney
27                                      This was agreed to by Ms. Montoya
                                        via email on August 17, 2010
28

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 1   DATED: August 17, 2010            /s/ Roger K. Litman    __
                                       ROGER K. LITMAN
 2                                     Attorney for Defendant
                                       BOUAVONE KEOMOUNEPANE
 3
 4   SO ORDERED:
 5
 6   DATED: August 17, 2010            /s/ OLIVER W. WANGER
                                       UNITED STATES DISTRICT JUDGE
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